     Case 2:16-cr-00196-SVW Document 150 Filed 06/30/20 Page 1 of 2 Page ID #:1434



                                                                 CLOSED
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11
                             UNITED STATES DISTRICT COURT
12
                       FOR THE CENTRAL DISTRICT OF CALIFORNIA
13

14
     UNITED STATES OF AMERICA,                No. CR 16-196-SVW
15
                Plaintiff,                    [PROPOSED] ORDER VACATING JUDGMENT
16                                            AND DISMISSING INDICTMENT WITH
                      v.                      PREJUDICE AGAINST DEFENDANT
17                                            PURSUANT TO FED. R. CRIM. P. 48(a)
     NERSES NICK BRONSOZIAN,
18
                Defendant.
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20         Pursuant to the government’s unopposed ex parte application and
21   Federal Rule of Criminal Procedure 48(a), the Court vacates the
22   //
23   //
24   //
25   //
26   //
27   //
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     Case 2:16-cr-00196-SVW Document 150 Filed 06/30/20 Page 2 of 2 Page ID #:1435



 1   judgment against defendant and dismisses the indictment in this case

 2   with prejudice.

 3          IT IS SO ORDERED.

 4
      June 30, 2020
 5
     DATE                                    HONORABLE STEPHEN V. WILSON
 6                                           UNITED STATES DISTRICT JUDGE
 7   Presented by:
 8        /s/
     PATRICK R FITZGERALD
 9   Assistant United States Attorney
10    cc:    USPO, Fiscal
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